  Case 1:24-md-03119-MLG-LF               Document 170       Filed 04/21/25      Page 1 of 26




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO


      In re: Shale Oil Antitrust Litigation

      This Document Relates to:                     No. 1:24-md-03119-MLG-LF

      ALL ACTIONS.



                [PROPOSED] STIPULATED DEPOSITION PROTOCOL

       This Deposition Protocol (“Protocol”) shall govern all fact Depositions taken in In re

Shale Oil Antitrust Litigation. This Protocol may be modified at any time by agreement of the

Parties or by order of the Court.

                                     I.       DEFINITIONS

       1.      “Attending Counsel” shall mean any legal counsel, other than Deposing Counsel

and Defending Counsel for a Party or Non-Party, that is attending a Deposition noticed and taken

pursuant to this Protocol.

       2.      “Court Reporter” shall mean an individual retained by the Party or Parties taking

a Deposition pursuant to this Protocol to transcribe the Deposition taken pursuant to this Protocol

and who is authorized to administer oaths either by federal or state law.

       3.      “Days” shall mean calendar days. If the last day of the period is a Saturday,

Sunday, holiday, or court closure, the period continues to run until the next day that is not a

Saturday, Sunday, holiday, or court closure.




                                                1
  Case 1:24-md-03119-MLG-LF               Document 170           Filed 04/21/25   Page 2 of 26




       4.         “Defending Counsel” shall mean the legal counsel of the Party, Parties, Non-

Party, or Non-Parties being deposed pursuant to this Protocol who is principally defending the

Deposition.

       5.         “Deposition” shall mean any oral examination taken pursuant to Fed. R. Civ. P.

30, Fed. R. Civ. P. 45, or any court order in this Litigation.

       6.         “Deposing Counsel” shall mean the legal counsel of the Party or Parties who

actually examine(s) the witness during the Deposition pursuant to this Protocol.

       7.         “Document” shall have the broadest possible meaning consistent with Fed. R. Civ.

P. 34, Fed. R. Evid. 1001, and Fed. R. Evid. 1006, and explicitly includes Hard Copy Documents,

ESI, and Summary Exhibits.

       8.         “Electronically Stored Information” and “ESI” shall have its broadest possible

meaning consistent with Fed. R. Civ. P. 34(a) and Fed. R. Evid. 1001, and explicitly includes

all electronically stored information produced by any Party or Non-Party in this Litigation.

       9.         “Exhibit” shall mean any Document or ESI that is marked as an Exhibit at a

Deposition.

       10.        “Hard Copy Document” shall mean any Document or thing discoverable under Fed.

R. Civ. P. 26(b)(1), Fed. R. Civ. P. 34, and/or Fed. R. Civ. P. 45 that cannot be characterized as

ESI.

       11.        “Litigation” shall mean the above-captioned case, any of the underlying actions

consolidated in the above-captioned case, and any related actions that may later be consolidated

with this case.




                                                2
  Case 1:24-md-03119-MLG-LF             Document 170        Filed 04/21/25      Page 3 of 26




       12.     “Non-Parties” shall mean all natural or legal persons that are not Parties to the

Litigation.

       13.     “Noticing Party” means a Party (or Parties) that noticed a Deposition of a witness

pursuant to Federal Rule of Civil Procedure 30 or Federal Rule of Civil Procedure 45.

       14.     “Parties” or “Party” shall mean any Plaintiff or any Defendant in the Litigation,

or any of their current and/or former employees, executives, officers, and/or directors.

       15.     “Remote Deposition” means a Deposition conducted using a platform as agreed to

under this Protocol that allows for the deponent, Attending Counsel, Deposing Counsel, Defending

Counsel, the Court Reporter, and/or the videographer to participate in a Deposition without all

attending the Deposition in person, or any other means to which the Deposing Counsel, Defending

Counsel, and Attending Counsel agree.

       16.     “Service Provider” means any individual or entity engaged by a Party for the

provision of remote Deposition services, including provision of a platform for remote Depositions

and remote stenography or videography services.

                                  II.     APPLICABILITY

       17.     This Protocol shall govern all Depositions in the Litigation, unless otherwise

agreed to by the Parties. It is intended to allow the Parties to conduct Deposition discovery in

an effective manner, balancing the efficiency and cost-savings of Remote Depositions with the

benefits of in-person attendance at Depositions.

       18.     Any matter not explicitly addressed in this Protocol shall be governed by the

applicable Federal Rules of Civil Procedure and the Local Rules of the District of New Mexico

(“Local Rules”).




                                               3
  Case 1:24-md-03119-MLG-LF              Document 170      Filed 04/21/25     Page 4 of 26




       19.     The Noticing Party may elect to conduct each Deposition in person or by remote

electronic means.

       20.     Any attorney of record may be physically present at the Deposition at the location

of the deponent with written notice of such appearance provided at least five Days before the

Deposition. Further, for any Deposition of a Party, that Party’s respective executives and in-

house counsel may attend the Deposition. However, the attendance at that Deposition of that

Party’s executives and/or in-house attorney shall not prevent the deposing attorney from showing

the witness any document marked as Confidential, Highly Confidential, or Outside Counsel Only

under the Protective Order. Any Deposing Counsel seeking to show the witness any document

that was not produced by the Party with which the witness is affiliated and is marked as

Confidential, Highly Confidential, or Outside Counsel Only under the Protective Order shall

provide prior notice to the attendees by stating the name of the party who produced the document,

the document’s bates number, and the document’s confidentiality designation. Following such

notice, Deposing Counsel shall provide a brief pause to permit individuals who are not permitted

to view the document under the Protective Order to leave the Deposition while the document is

being shown and/or discussed. Deposing Counsel is not responsible for the failure of such

individuals to leave the Deposition, and any time spent allowing such individuals to leave the

Deposition shall not count towards Deposing Counsel’s time on the record. An attorney for the

deponent may be physically present with the deponent without notice but shall indicate whether

he or she intends to attend in person, if asked.

       21.     If any deponent or Defending Counsel objects in good faith to the taking of a

Deposition in person, it must notify the Noticing Party of the objection within seven business




                                                   4
  Case 1:24-md-03119-MLG-LF              Document 170          Filed 04/21/25      Page 5 of 26




Days of receiving the Deposition notice, and the Parties and/or Non-Party shall meet and confer

in good faith regarding such a request to change the format for the Deposition. If the Parties agree

to hold the Deposition remotely, they will work cooperatively and in a timely manner to arrange

for the necessary logistics required for the change in format of the Deposition.

       22.     Any Party may notice a Remote Deposition by stating its intention to take a

Deposition by remote means in its original or amended notice of Deposition by oral examination

pursuant to Fed. R. Civ. P. 30 or Fed. R. Civ. P. 45, or by any other means in writing that the

Parties may agree to.

                                III.    DEPOSITION LIMITS

       23.     By no later than 60 days before the Parties are required to substantially complete

their document productions, the Parties shall commence discussions as to the limitations on

Depositions taken in the Litigation, including the allotted time for Rule 30(b)(6) Depositions. By

no later than 30 days before the Parties are required to substantially complete their document

productions, the Parties shall either submit a proposed addendum to this Protocol setting forth

agreed-upon Deposition limitations or submit a joint letter to the Court, not to exceed five pages,

setting forth any disputes regarding Deposition limitations.

                        IV.   ALLOCATION OF DEPOSITION TIME

       24.     Depositions of fact witnesses noticed by any Party will generally be limited to

seven hours of examination by the Noticing Party per deponent consistent with Fed. R. Civ. P.

30(d)(l), unless otherwise agreed to or ordered by the Court.

       25.     A Party may cross-notice a Deposition by serving a Deposition notice or subpoena

noticing the Deposition within seven Days of the initial Deposition notice served by another




                                                5
  Case 1:24-md-03119-MLG-LF              Document 170         Filed 04/21/25       Page 6 of 26




Party. Defending Counsel may redirect the witness’s testimony within the scope of the

examination of the Noticing Party as normal.

       26.     If Defending Counsel for the witness or the witness’s current or past employer

(the “defending attorney”) wishes to question the witness outside of the scope of the examination

by the Noticing Party, they may have a reasonable amount of time not to exceed one hour on the

record to examine the witness at the conclusion of cross examination without need for a cross-

notice, and which shall not count toward the hour limit for the Deposition or Defending Counsel’s

allotted number of Depositions or cumulative hours cap. The Noticing Party will have a reasonably

proportional amount of time, not to exceed 30 minutes, to conduct any recross examination of the

witness, which shall not count toward the Noticing Party’s Deposition cap(s). Deposing Counsel

also may reserve a portion of their total hours with the witness to conduct further recross

examination. If Defending Counsel wishes to question the witness for longer than one hour outside

the scope of examination by the Noticing Party, he or she must cross-notice the witness as normal.

In the event a Party cross-notices the Deposition of a current or former employee of that Party or a

co-Party (e.g., a Defendant cross-notices the Deposition of an employee of a co-Defendant), the

Noticing Parties will meet and confer on the appropriate duration of the Deposition. The

presumption will be that the Noticing Party shall have the full amount of time set forth in this

Protocol. The cross-Noticing Party may have additional time beyond the Noticing Party’s time to

depose its co-Parties’ current or former employee as agreed with its co-Parties.

       27.     To the extent a Party cross-notices a Non-Party for Deposition, the Parties shall

meet and confer regarding the division of time among the Parties.




                                                6
     Case 1:24-md-03119-MLG-LF          Document 170        Filed 04/21/25     Page 7 of 26




        28.    Parties may seek leave of Court for additional time for good cause or if they are

otherwise unable to agree upon the division of time for a Deposition.

        29.    The Parties will make a good faith effort to avoid multiple Depositions of the

same deponent if that deponent will testify both under Rule 30(b)(1) and Rule 30(b)(6), but this

does not abridge the Noticing Party’s right to its allocated hours of Deposition time for the

30(b)(1) Deposition plus the additional time allocated under this paragraph for the 30(b)(6)

Deposition. Should a Party identify a Rule 30(b)(1) deponent to testify regarding one or more

Rule 30(b)(6) topics, the Parties shall discuss in advance whether both Depositions can be

completed in a single day and, if not, shall schedule and conduct the Deposition on consecutive

Days whenever possible.

                           V.      DEPOSITION PROCEDURES

A.      Joint Rule 30(b)(1) and 30(b)(6) Depositions

        30.    During a Deposition in which a designated deponent is being deposed in both

their individual and Rule 30(b)(6) capacities, Deposing Counsel shall clearly state whether

questions are being asked of the deponent in their individual or Rule 30(b)(6) capacity. If

Deposing Counsel does not so state, the deponent will be deemed to be testifying in their

personal capacity. The Deposing Counsel shall make best efforts to separate 30(b)(1) and

30(b)(6) questions into two distinct parts of the Deposition.

B.      Deponents Represented by Separate Counsel

        31.    Where a deponent is represented by counsel who does not also represent a Party

(e.g., a Non-Party or an employee of a Party with separate counsel), then the Noticing Party shall




                                               7
     Case 1:24-md-03119-MLG-LF            Document 170         Filed 04/21/25       Page 8 of 26




provide a copy of this Protocol to the deponent’s counsel along with the Deposition subpoena or

notice.

C.        Use of Interpreters

          32.    For Depositions for which a deponent requests an interpreter for the entirety of

the Deposition, one hour of Deposition time shall count as one half of an hour for the purpose of

computing the seven-hour limit and the amount of cumulative Deposition hours remaining for

a side. If a deponent anticipates seeking an interpreter only for clarification of discrete terms or

definitions, the seven-hour limit shall apply. If a deponent anticipates needing translation for a

material portion but not all of the Deposition, the Parties shall discuss in advance the amount of

time that should properly be allocated. The Parties will not unreasonably withhold agreement if,

during the course of the Deposition, more or less time is needed. When time beyond seven hours

may be required by this paragraph, the Parties shall discuss in advance whether the Deposition

can be completed in a single day and, if not, shall schedule and conduct the Deposition on

consecutive Days whenever possible.

          33.    If a deponent desires an interpreter, counsel for the deponent shall provide

written notice to the other Parties of the need for an interpreter as soon as practicable, or no later

than within fourteen Days after the issuance of the Deposition notice.

          34.    If a deponent desires an interpreter, the Parties shall confer concerning the

appointment of a single, qualified interpreter to provide interpretation services at the Deposition

and agree to equally share costs. If the Parties cannot agree, the Noticing Party shall arrange for

the interpreter and bear responsibility for the cost.




                                                 8
  Case 1:24-md-03119-MLG-LF              Document 170         Filed 04/21/25      Page 9 of 26




       35.     The appointment of such an interpreter does not limit the right of any Party to

bring a qualified check interpreter to assist that Party at its own cost. The check interpreter may

succinctly state an objection to the interpretation on the record and, if asked by the deponent, a

Deposing Counsel, or Defending Counsel, offer his or her different interpretation of the question

or answer. Should the interpreters be unable to resolve a dispute that arises with respect to an

interpretation, the Parties will engage a neutral interpreter to resolve the dispute. If counsel for

the Noticing Party and Defending Counsel have not agreed on a neutral interpreter, the deponent

shall answer the question based on the interpretation of the Noticing Party’s interpreter but shall

not be barred from clarifying the response based on any other reasonable interpretation.

                 VI.     SCHEDULING AND NOTICING DEPOSITIONS

       36.     Counsel will consult with one another in advance to coordinate, to the extent

practicable, all scheduling, noticing, and taking of Depositions. The needs and convenience of the

deponent will be a paramount concern in scheduling and taking the Deposition.

       37.     The Parties agree that they will work in good faith to provide no fewer than

twenty-five Days’ notice of a 30(b)(1) Deposition and twenty-five Days notice of a 30(b)(6)

Deposition. A formal Deposition notice is not required to start the process of requesting a

30(b)(1) Deposition. Once the Noticing Party provides one or more specific proposed dates for

the Deposition, the responding Party will reply to the Party requesting the Deposition within

seven Days of the request. In responding, the responding Party will accept one of the originally

proposed dates or counter-propose alternative dates within a reasonable timeframe.




                                                9
 Case 1:24-md-03119-MLG-LF             Document 170        Filed 04/21/25      Page 10 of 26




       38.     All Parties agree to meet and confer in good faith with regard to any disputes

concerning the scheduling of Depositions. Disputes that cannot be resolved through the meet

and confer process or within a reasonable timeframe shall be decided by the Court.

       39.     In the event of an in-person Deposition, unless otherwise agreed or prohibited by

local law, Depositions will occur in a city convenient to the deponent, reasonably located within

100 miles of where the deponent resides or regularly works or at another location agreed upon

by the Parties and deponent.

       40.      Unless the Deposition occurs remotely or agreed otherwise, the Noticing Party

shall secure a room for the Deposition that will accommodate counsel for each Party, deponent,

videographer, interpreters (if any), and Court Reporter. The Noticing Party shall bear the initial

expense of videotaping and stenographic recording.

       41.     Any Deposition notice may be served on all Parties electronically via email. Any

subpoenas for Deposition testimony shall be served on deponents as required by law, but copies

may be served electronically via email on all Parties.

       42.     The Parties and Non-Parties shall work in good faith to minimize the rescheduling

of Depositions, once scheduled, subject to accommodating reasonable requests for continuances

of Depositions due to unforeseen circumstances, such as illnesses or dependent care needs of

attorneys or deponents.

                          VII.   ATTENDANCE AT DEPOSITIONS

A.     Counsel’s Right to Attend Remotely

       43.     To minimize travel and related costs, requests by counsel to participate in any

Deposition remotely should be agreed to absent unusual circumstances. Counsel intending to




                                               10
   Case 1:24-md-03119-MLG-LF             Document 170        Filed 04/21/25      Page 11 of 26




 participate in a Deposition remotely must notify counsel for the Noticing Party and Defending

 Counsel at least two Days before the scheduled date of the Deposition. If such a notice is timely

 given, and agreement is given for the remote participation of counsel, counsel for the Noticing

 Party shall make arrangements for a video link to all who wish to attend the Deposition.

 B.      Right to Attend in Person

         44.     If Defending Counsel intends to attend a Deposition in person, then Deposing

 Counsel and Attending Counsel also have the right to attend that Deposition in person and to

 have the Court Reporter and videographer attend in person.

                               VIII. CONDUCT OF DEPOSITIONS

         45.     Regardless of location, all Depositions shall be conducted in accordance with all

 applicable Federal Rules of Civil Procedure, the Federal Rules of Evidence, and the Local Rules

 unless otherwise required by law, including Fed. R. Civ. P. 30(c)(2), except that:

         a) The Parties agree that one objection by Plaintiff or Defendant can be relied upon by
            all Plaintiffs or Defendants, respectively. The Parties all agree that an objection by
            counsel for a Non-Party can be relied upon by all Plaintiffs or Defendants.
         b) Breaks shall not be taken while a question is pending unless it is required to
            determine whether a privilege should be asserted.
         c) The Parties may contact the Court during a Deposition should a dispute arise that
            necessitates its involvement.

       46. So as to promote efficiency, the Parties agree that an “objection to form” shall serve

to preserve all objections to form without need for the objecting party to specify the claimed

deficiency in form. An objection must be stated concisely in a nonargumentative and

nonsuggestive manner, and Deposing Counsel may request clarification from the objecting Parties

if the basis is not understood. Objections other than for form shall not be made at the Deposition

and are preserved for trial.




                                                11
 Case 1:24-md-03119-MLG-LF             Document 170        Filed 04/21/25      Page 12 of 26




       47.     While the Deposition is on the record, counsel shall refrain from any form of

communication with the deponent with the intent to influence the substance of the testimony of

the deponent. Any request for a break must be stated on the record. Nothing in this Protocol

prevents a deponent from seeking advice regarding the application of a privilege or immunity

from testifying during the course of a Deposition taken pursuant to this Protocol.

       48.     Unless clearly identified on the record and subject to the express consent of the

Deposing and Defending Counsel, the deponent may not review, read, have before him or her, or

otherwise access any Hard Copy Documents or Electronically Stored Information, including

email, text, web pages, social media, video, audio, or any other material, except Hard Copy

Documents or Electronically Stored Information presented to the deponent as Exhibits during the

Deposition. During a Remote Deposition, the only applications running on the deponent’s

computer shall be those needed for the Remote Deposition platform, and the deponent shall not

consult any outside sources of information, including cell phones, smart phones, computers, the

Internet, text or instant messaging services, emails, chats, blogs, or websites such as Twitter,

Facebook, or LinkedIn, to obtain information in connection with his or her testimony.

       49.     In the event that a Party wishes to make a motion to terminate or limit a Deposition

under Fed. R. Civ. P. 30(d)(3), that Party’s counsel should concisely state the grounds in support

of such motion on the record.

                       IX.      REMOTE DEPOSITION PROTOCOL

A.     Applicability

       50.     When all or any part of a Deposition will be conducted remotely, the following

Remote Deposition Protocol shall apply, in addition to any applicable paragraphs from above. A




                                               12
 Case 1:24-md-03119-MLG-LF              Document 170         Filed 04/21/25       Page 13 of 26




Remote Deposition shall satisfy the Parties’ obligations to make the deponent available for

Deposition and the deponent’s obligations to appear for a Deposition to the same extent as if the

Deposition had been conducted in person.

B.     Vendor and Platform

       51.     The Noticing Party will ensure that the vendor selected for court reporting,

videography, and remote video Deposition services provides a platform sufficient to permit the

deponent (and, if the deponent is a Party, the respective Party’s executives and in-house

counsel), Attending Counsel, Deposing Counsel, Defending Counsel, Court Reporter, and/or

videographer to participate in a Deposition without attending the Deposition in person.

       52.     At least two Days prior to the commencement of each Remote Deposition, the

Noticing Party shall endeavor to provide, or cause the Service Provider to provide, to all counsel

the details necessary to gain access to each Remote Deposition, including but not limited to any

web addresses, login credentials, and hardware and software requirements.

C.     Remote Administration of Oath and Recording of Video

       53.     Remote Depositions shall be recorded by stenographic means consistent with the

requirements of Fed. R. Civ. P. 30(b)(3), but the Court Reporter need not be physically present

with the deponent whose Deposition is being taken. The Parties agree not to challenge the validity

of any oath administered by the Court Reporter, even if the Court Reporter is not a notary public

in the state where the deponent resides.

       54.     The Court Reporter will stenographically record the testimony, and the Court

Reporter’s transcript shall constitute the official record. The Service Provider will record the video

feed of the deponent and preserve the video recording. The Court Reporter may be given a copy




                                                 13
 Case 1:24-md-03119-MLG-LF              Document 170        Filed 04/21/25      Page 14 of 26




of the video recording (of any videotaped Deposition) and may review the video recording to

improve the accuracy of any written transcript.

       55.     The Parties agree that the Court Reporter is an “Officer” as defined by Fed. R. Civ.

P. 28(a)(2) and shall be permitted to administer the oath to the deponent via the videoconference

during Remote Depositions.

       56.     At the beginning of each Deposition, consistent with Fed. R. Civ. P. 30(b)(5)(A),

the employee of the Service Provider responsible for video-recording the Deposition shall begin

the Deposition with an on-the-record statement that includes: (i) the officer’s name and company

affiliation; (ii) the date and time, and place of the Deposition (which shall be defined as the

location of the deponent); (iii) the deponent’s name; (iv) the officer’s administration of the oath

or affirmation; (v) the identity of all persons present at the Remote Deposition; and (vi) unless

inapplicable, a statement that the Parties have agreed to take the Deposition by remote means.

       57.     The Parties further stipulate and the Court finds, pursuant to Federal Rule of Civil

Procedure 29(a), that the recorded video provided in a digital file by the Court Reporter or

Service Provider may be used as if it was a recording prepared by a certified videographer, and

that each side will waive any objections based on authenticity.

D.     Video Conferencing Platform

       58.     Where the deponent, Defending Counsel, and/or the Deposing Counsel are

appearing for the Deposition remotely, then a video conferencing service will be utilized and

such video may be recorded for later use in proceedings in this case, including trial. The video-

conferencing software must have commercially reasonable security features in place to prevent




                                                14
 Case 1:24-md-03119-MLG-LF              Document 170         Filed 04/21/25     Page 15 of 26




the public disclosure of protected information designated under the Protective Order in this

Litigation.

       59.     The deponent shall be visible to all other participants and any statements to the

deponent shall be audible to all participants at all times while on the record. The video of the

deponent may not be turned off while on the record, unless agreed to by Deposing and Defending

Counsel.

       60.     All individuals who are physically present in the same room with the deponent

shall identify themselves to the Court Reporter. Any individuals who enter the room after that

time, for the purpose of attending some or all of the examination or otherwise, shall identify

themselves to the Court Reporter (or counsel shall do so).

       61.     Other than the electronic device used by the deponent to testify during the

Remote Deposition, and any telephone line or internet connection needed for the same

purpose, the deponent shall not access any network or cellular connected device, such as mobile

phones or tablets, while on the record during the Deposition.

       62.     To the extent possible and reasonable, all participants other than the Witness,

Deposing Counsel, and Defending Counsel, will set their audio to “mute” and turn their video

camera off to reduce connectivity issues.

E.     Deposition Recording

       63.     In addition to recording the Deposition by stenographic means, the Noticing

Party may record the Deposition by video. This video recording may be a recording of the video

conference, or it may be separately recorded video taken by a videographer, at the Noticing Party’s




                                                15
 Case 1:24-md-03119-MLG-LF             Document 170         Filed 04/21/25      Page 16 of 26




election. The Noticing Party, at its election, may make a video recording of the Deposing Counsel

in addition to the deponent. Defending Counsel may also be recorded, at their election.

F.     Technical Issues

       64.     Should technical issues, such as audio or video issues, prevent the Court

Reporter, deponent, Deposing Counsel, or Defending Counsel from reliably seeing one another,

hearing one another, or, in the case of the Court Reporter, transcribing the testimony, at any

point during a Deposition taken pursuant to this order, the Deposition shall be recessed until the

technical issue is resolved. Should technical issues prevent the Court Reporter from reliably

hearing or transcribing the testimony at any Deposition taken pursuant to this order and such

technical issue cannot be remedied within an hour, Deposing Counsel, Defending Counsel, and

Attending Counsel shall meet, confer, and reasonably cooperate with one another to address the

problem.

       65.     Any time spent addressing technical issues will count as “off the record” time

and shall not count against any time limit, provided that and starting when a questioning attorney

or Defending Counsel specifies it is “off the record.” If a technical issue prevents the deponent,

Deposing Counsel, or Defending Counsel from speaking to other participants, the Deposition

shall be deemed “off the record” from that time.

G.     Waiver of Objections to Use and Admissibility of Remote Deposition
       Transcript or Video

       66.     All objections to the use and admissibility of the transcript or video of a Remote

Deposition taken pursuant to this Protocol based solely on the fact that the Deposition was taken

by remote means are deemed waived. The Parties agree that video-recorded Depositions may be

used at a trial or hearing to the same extent that a Deposition where counsel for the Noticing



                                               16
 Case 1:24-md-03119-MLG-LF               Document 170         Filed 04/21/25      Page 17 of 26




Party is physically present in the same room as the deponent may be used at trial or hearing, and

the Parties agree not to object to the use of these video recordings on the basis that the Deposition

was taken remotely.

H.     Other Remote Deposition Logistics

       67.     Once proceedings go on the record, and absent extenuating circumstances,

Deposing Counsel and Defending Counsel must agree before the record stops.

                                        X.      EXHIBITS

A.     In-Person Depositions

       68.     Counsel may introduce Exhibits electronically using the document-sharing

technology provided by the Service Provider or by using the screen-sharing technology within

the videoconferencing platform. Counsel electing to introduce Exhibits electronically during an

in-person Deposition are responsible for arranging for the technology or physical means

necessary to permit presentment of the Exhibit at the Deposition to the deponent and counsel.

       69.     As a courtesy, the Noticing Party shall, upon request to the extent feasible,

provide hard copies of Exhibits to the deponent, Defending Counsel, and three additional copies

available for Attending Counsel.

B.     Remote Depositions

       70.     Counsel may introduce Exhibits electronically using the document-sharing

technology provided by the Service Provider or by using the screen-sharing technology within the

videoconferencing platform.

       71.     The Parties agree that the default method of marking and using Exhibits for a

Remote Deposition is through a digital platform that enables Deposing Counsel to share Exhibits




                                                 17
 Case 1:24-md-03119-MLG-LF              Document 170         Filed 04/21/25       Page 18 of 26




with the deponent, Court Reporter, Defending Counsel, and Attending Counsel. Nevertheless,

when requested by the Party or Non-Party producing a deponent for Deposition least ten (10)

Days in advance of that Deposition (along with the one address(es) where the hard copies are to

be sent), as a courtesy, the Noticing Party shall arrange for two sets of hard copy Exhibits to be

utilized by the deponent and Defending Counsel during a Remote Deposition, and make

electronic Exhibits available to other participants, to the extent reasonable and practicable. If

electronic Exhibits are used by the deponent, the deponent must be afforded the opportunity to

manipulate the document (scrolling, enlarging, etc.) to facilitate their review. Full electronic or

paper copies of an exhibit must be accessible by the deponent, Court Reporter, Defending

Counsel, and any Attending Counsel, before questioning begins on that exhibit.

       72.     The Noticing Party and the responding party agree that hard copy exhibits must

remain sealed and unopened until the Deposition begins and the Deponent is instructed on the

record to open the sealed hard copy exhibits. The Noticing Party will attempt in good faith to

include in the hard copy set all of the exhibits on which they plan to question the Deponent;

however, nothing in this paragraph is intended to, nor in fact, prevents the Noticing Party from

preparing for the Deposition until the time that it occurs, or from introducing during the

Deposition additional Exhibits not previously mailed in hard copy, including by electronic means

otherwise provided here. For the Depositions of any expert witnesses pursuant to Federal Rule of

Civil Procedure 26(b)(4)(A), where the Defending Party requests that the Noticing Party provide

the witness and counsel with hard copies of potential exhibits, the parties will meet and confer about

whether certain documents need to be provided in hard copy (e.g., copies of the expert’s report)

and will be decided on a case by case basis.




                                                 18
 Case 1:24-md-03119-MLG-LF                 Document 170         Filed 04/21/25      Page 19 of 26




C.     In General

       73.         Deposing Counsel shall be responsible for ensuring that any Exhibits that he or

she wishes to mark and use at the Deposition can be shown to the deponent and Defending

Counsel in a manner that enables the deponent and Defending Counsel to independently review

the Exhibits during the course of the Deposition.

       74.         Counsel are not obligated to, but may, pre-designate Exhibits.

             XI.       DEPARTING EMPLOYEES AND FORMER EMPLOYEES

       75.         In response to any notice or request for Deposition, if the deponent is a (a) former

employee of any Party and is not currently represented by counsel for that Party, or (b) current

employee of a Party who will leave the employment of the Party prior to the scheduled date of

the Deposition, counsel for that Party shall, within ten Days after receiving the notice or request

for Deposition, inform the Noticing Party whether counsel for the Party will accept service of

the notice or request in lieu of a subpoena.

       76.         If any Party’s counsel learns that a current employee of a Party who has been

identified as a deponent will leave the employment of the Party prior to the scheduled date of his

or her Deposition, then counsel for the employing Party shall notify opposing counsel of the

employee’s expected date of departure as soon as reasonably practicable.

               XII.      TRANSCRIPTS, ERRATA, AND CONFIDENTIALITY

       77.         The Parties incorporate the Protective Order by reference as if fully stated herein.

       78.         Transcripts of Depositions and Exhibits will be delivered from the Court

Reporter to the deponent and/or counsel for the deponent. Absent an agreement to the contrary,

within 30 Days of receipt of the final transcript and Exhibits, the deponent or the deponent’s




                                                   19
 Case 1:24-md-03119-MLG-LF              Document 170         Filed 04/21/25      Page 20 of 26




counsel shall forward any errata to the Court Reporter, who will promptly notify all counsel of

its receipt and forward the errata to all counsel who attended the Deposition. The deponent’s

right to review the final transcript and submit errata within 30 Days of receipt of the final

transcript and Exhibits shall be preserved without the need to state it on the record during the

Deposition.

       79.     Absent an agreement to the contrary or a showing of good case, should the

deponent or the deponent’s counsel fail to submit errata within the applicable 30 calendar Day

period, the transcript will be presumed accurate, and all Parties shall have the right to use the

copy sent to the deponent as if it were final and signed with no corrections.

       80.     Absent an agreement to the contrary, Deposition transcripts will temporarily be

treated as Highly Confidential for 30 Days after the Court Reporter distributes the final transcript

and Exhibits to all Parties who have requested a copy. No designation need be stated on the

record at a Deposition for this provision to apply.

       81.     A Party may designate an entire transcript as Confidential and/or may designate

one or more portion(s) of a transcript as Confidential, Highly Confidential, or Outside Counsel

Only (a) during the Deposition or (b) within the applicable 30-calendar-Day period, by written

notice to all Parties, specifying the page and line numbers of the Deposition transcript that are

subject to the designation. A Party may challenge another Party’s designation pursuant to the

Protective Order. All such designations should be reasonable and necessary.

       82.     Upon receipt of errata and confidentiality designations, the Court Reporter shall

reproduce the final transcript to indicate which pages include testimony that has been designated

as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL,” or “OUTSIDE COUNSEL ONLY.”




                                                20
  Case 1:24-md-03119-MLG-LF              Document 170          Filed 04/21/25    Page 21 of 26




                                 XIII. APPLICABLE RULES

         83.     Regardless of location, all Depositions shall be conducted in accordance with

 applicable Federal Rules of Civil Procedure, Federal Rules of Evidence, the Local Rules,

 applicable standing orders regarding attorney conduct, ethical rules governing conduct of

 attorneys, and standard practice and rulings of courts in the United States District Court for the

 District of New Mexico, and this Protocol Order. Counsel shall act in good faith to ensure

 compliance with these rules and all applicable ethical obligations and may seek appropriate

 relief for violations.

                                XIV. USE OF DEPOSITIONS

         84.     The Depositions taken by any Party pursuant to this Protocol may be made

 available and used in any cases filed that are deemed by the Court to be consolidated with or

 related to this Litigation.

         85.     Nothing in this section prevents a Party from objecting to the use of, or moving

 to exclude the use of, a Deposition pursuant to this Protocol in any action previously or hereafter

 transferred to this case.

Dated: April 21, 2025

/s/Christopher A. Dodd
Christopher A. Dodd                                   Michael Dell’Angelo (pro hac vice)
DODD LAW OFFICE, LLC                                  Candice Enders (pro hac vice)
500 Marquette Avenue NW, Suite 1330                   BERGER MONTAGUE PC
Albuquerque, New Mexico 87102                         1818 Market Street
Tel: (505) 475-2932                                   Suite 3600
chris@doddnm.com                                      Philadelphia, PA 19103
                                                      Tel: (215) 875-3080
Interim Liaison Counsel for Plaintiffs and            mdellangelo@bm.net
Putative Class                                        cenders@bm.net

                                                      Richard D. Schwartz (pro hac vice)
Patrick J. Coughlin (pro hac vice)                    BERGER MONTAGUE PC
Carmen Medici (pro hac vice)                          1720 W. Division



                                                 21
  Case 1:24-md-03119-MLG-LF          Document 170         Filed 04/21/25     Page 22 of 26




Daniel J. Brockwell (pro hac vice)               Chicago IL 20622
Isabella De Lisi (pro hac vice)                  Tel: (773) 257-0255
Mollie E. Chadwick (pro hac vice forthcoming)    rschwartz@bm.net
SCOTT+SCOTT ATTORNEYS AT LAW LLP
600 W. Broadway, Suite 3300                      Karin B. Swope (pro hac vice)
San Diego, CA 92101                              Thomas E. Loeser (pro hac vice)
Tel: (619) 233-4565                              Vara G. Lyons (pro hac vice)
pcoughlin@scott-scott.com                        Ellen Wen (pro hac vice)
cmedici@scott-scott.com                          Jacob M. Alhadeff (pro hac vice)
dbrockwell@scott-scott.com                       COTCHETT, PITRE, & McCARTHY, LLP
idelisi@scott-scott.com                          1809 7th Avenue, Suite 1610
mchadwick@scott-scott.com                        Seattle, WA 98103
                                                 Tel: (206) 778-2123
Patrick McGahan (pro hac vice)                   kswope@cpmlegal.com
Michael Srodoski (pro hac vice)                  tloeser@cpmlegal.com
SCOTT+SCOTT ATTORNEYS AT LAW LLP                 vlyons@cpmlegal.com
156 S Main Street                                ewen@cpmlegal.com
P.O. Box 192                                     jalhadeff@cpmlegal.com
Colchester, CT 06415
Tel: (860) 537-5537                              Joseph W. Cotchett (pro hac vice)
pmcgahan@scott-scott.com                         Adam Zapala (pro hac vice)
msrodoski@scott-scott.com                        Vasti S. Montiel (pro hac vice)
                                                 COTCHETT, PITRE, & McCARTHY, LLP
Karin E. Garvey (pro hac vice)                   840 Malcolm Road
SCOTT+SCOTT ATTORNEYS AT LAW LLP                 Burlingame, CA 94010
230 Park Ave., 24th Floor                        Tel: (650) 697-6000
New York, NY 11069                               jcotchett@cpmlegal.com
Tel: (212) 223-6444                              azapala@cpmlegal.com
kgarvey@scott-scott.com                          vmoniel@cpmlegal.com

                                                 Interim Co-Lead Counsel for Plaintiffs and the
                                                 Putative Class

/s/Boris Bershteyn                               /s/John M. Taladay
Boris Bershteyn                                  John M. Taladay
Karen M. Lent                                    Christopher Wilson
Michael H. Menitove                              Kelsey Paine
                                                 Megan Tankel
Zachary C. Siegler                               Fran Jennings
SKADDEN, ARPS, SLATE,                            BAKER BOTTS L.L.P.
MEAGHER & FLOM LLP                               700 K Street NW
One Manhattan West                               Washington, D.C. 20001-5692
New York, New York 10001-8602                    Tel: (202) 639-7909
Telephone: (212) 735-3000                        john.taladay@bakerbotts.com
boris.bershteyn@skadden.com                      christopher.wilson@bakerbotts.com
                                                 kelsey.paine@bakerbotts.com



                                            22
  Case 1:24-md-03119-MLG-LF             Document 170       Filed 04/21/25     Page 23 of 26




karen.lent@skadden.com                            megan.tankel@bakerbotts.com
michael.menitove@skadden.com                      fran.jennings@bakerbotts.com
zachary.siegler@skadden.com
                                                  Benjamin F. Feuchter
                                                  Thomas C. Bird
Samuel G. Liversidge                              JENNINGS HAUG KELEHER MCLEOD
Jay P. Srinivasan                                 201 Third Street NW, Suite 1200
S. Christopher Whittaker                          Albuquerque, NM 87102
GIBSON, DUNN & CRUTCHER LLP                       Tel: (505) 346-4646
333 South Grand Avenue                            bf@jhkmlaw.com
Los Angeles, CA 90071-3197                        tcb@jhkmlaw.com
Telephone: (213) 229-7000                         Counsel for Defendant EOG Resources, Inc.
sliversidge@gibsondunn.com
jsrinivasan@gibsondunn.com                        /s/Jeffrey L. Kessler
cwhittaker@gibsondunn.com                         Jeffrey L. Kessler
                                                  Jeffrey J. Amato
Eric R. Burris                                    WINSTON & STRAWN LLP
BROWNSTEIN HYATT                                  200 Park Avenue
                                                  New York, NY 10166
 FARBER SCHRECK, LLP                              Tel: (212) 294-6700
201 Third Street NW, Suite 1800                   jkessler@winston.com
Albuquerque, NM 87102-4386                        jamato@winston.com
Telephone: (505) 244-0770
eburris@bhfs.com                                  Thomas M. Melsheimer
                                                  Thomas B. Walsh, IV
Counsel for Defendant Pioneer Natural             WINSTON & STRAWN LLP
Resources Company                                 2121 N. Pearl Street, Suite 900
                                                  Dallas, TX 75201
                                                  Tel: (212) 294-6700
/s/Marguerite M. Sullivan                         tmelsheimer@winston.com
Marguerite M. Sullivan                            twalsh@winston.com
LATHAM & WATKINS LLP
555 Eleventh Street, N.W., Suite 1000             Benjamin Allison
Washington, D.C. 20004                            Billy Trabaudo
Tel: (202) 637-2200                               BARDACKE ALLISON MILLER LLP
                                                  P.O. Box 1808
Marguerite.Sullivan@lw.com                        141 E. Palace Avenue
                                                  Santa Fe, NM 87501
Lawrence E. Buterman                              Tel: (505) 995-8000
LATHAM & WATKINS LLP                              ben@bardackeallison.com
1271 Avenue of the Americas                       billy@bardackeallison.com
New York, NY 10020
                                                  Counsel for Defendant Diamondback Energy,
Tel: (212) 906-1200                               Inc.
Lawrence.Buterman@lw.com
                                                  /s/Jeffrey J. Zeiger
Counsel for Defendant Expand Energy               Jeffrey J. Zeiger
Corporation (F/K/A Chesapeake Energy              KIRKLAND & ELLIS LLP
Corporation)                                      333 West Wolf Point Plaza



                                             23
  Case 1:24-md-03119-MLG-LF          Document 170           Filed 04/21/25      Page 24 of 26




/s/Kevin S. Schwartz                               Chicago, IL 60654
Kevin S. Schwartz                                  Tel: 312-862-3237
David A. Papirnik                                  jzeiger@kirkland.com
WACHTELL, LIPTON, ROSEN & KATZ                     Devora W. Allon
51 West 52nd Street                                KIRKLAND & ELLIS LLP
New York, NY 10019                                 601 Lexington Avenue
Tel: (212) 403-1062                                New York, NY 10022
kschwartz@wlrk.com                                 Tel: 212-446-5967
                                                   devora.allon@kirkland.com
Counsel for Defendants Hess Corporation and
                                                   Earl E. DeBrine, Jr.
John Hess                                          MODRALL SPERLING
                                                   500 4th St. NW, Suite 1000
/s/Christopher E. Ondeck                           Albuquerque, NM 87102
Christopher E. Ondeck                              Tel: (505) 848-1800
Stephen R. Chuk                                    earl.debrine@modrall.com
PROSKAUER ROSE LLP
                                                   Counsel for Defendant Occidental Petroleum
1001 Pennsylvania Avenue NW                        Corporation
Suite 600 South
Washington, DC 20004                               /s/Michael W. Scarborough
Tel: (202) 416-6800                                Michael W. Scarborough
Fax: (202) 416-6899                                Dylan I. Ballard
condeck@proskauer.com                              VINSON & ELKINS LLP
schuk@proskauer.com                                555 Mission Street, Suite 2000
                                                   San Francisco, CA 94105
                                                   Tel: (415) 979–6900
Kyle A. Casazza                                    mscarborough@velaw.com
PROSKAUER ROSE LLP                                 dballard@velaw.com
2029 Century Park East, Suite 2400
Los Angeles, CA 90067-3010                         Craig P. Seebald
Tel: (310) 284-5677                                Stephen M. Medlock
kcasazza@proskauer.com                             VINSON & ELKINS LLP
                                                   2200 Pennsylvania Avenue NW, Suite 500 West
                                                   Washington, DC 20037
Jared DuBosar                                      Tel: (202) 639-6500
PROSKAUER ROSE LLP                                 cseebald@velaw.com
2255 Glades Road, Suite 421 Atrium                 smedlock@velaw.com
Boca Raton, FL 33431
Telephone: (561) 995-4702                          Counsel for Defendant
jdubosar@proskauer.com                             Permian Resources Corporation

                                                   /s/David I. Gelfand
Hannah Silverman                                   David I. Gelfand
Henrique Carneiro                                  Jeremy J. Calsyn
PROSKAUER ROSE LLP                                 Joseph M. Kay
Eleven Times Square                                CLEARY GOTTLIEB STEEN & HAMILTON
New York, NY 10036                                 LLP
Telephone: (212) 969-3193                          2112 Pennsylvania Avenue NW



                                              24
  Case 1:24-md-03119-MLG-LF          Document 170            Filed 04/21/25     Page 25 of 26




Facsimile: (212) 969-2900                           Ste 1000
hsilverman@proskauer.com                            Washington, DC 20037
hcarneiro@proskauer.com                             Tel: (202) 974-1690
                                                    dgelfand@cgsh.com
                                                    jcalsyn@cgsh.com
Michael Burrage                                     jkay@cgsh.com
WHITTEN BURRAGE
512 North Broadway Avenue, Ste 300                  Kurt A. Sommer
Oklahoma City, OK 73102                             SOMMER, UDALL, SUTIN, HARDWICK &
Tel: (888) 783-0351                                 HYATT, PA
mburrage@whittenburragelaw.com                      PO Box 1984
                                                    Santa Fe, NM 87504
                                                    Tel: (505) 982-4676
H. Brook Laskey                                     kas@sommerudall.com
MCCOY LEAVITT LASKEY LLC
317 Commercial St. NE, Suite 200                    Counsel for Defendant Scott D. Sheffield
Albuquerque, NM 87102
Telephone: (505) 246-0455
blaskey@MLLlaw.com

Counsel for Defendant Continental Resources,
Inc.


IT IS SO ORDERED.

Dated:                                         ___________________________________
                                               The Hon. Matthew L. Garcia
                                               UNITED STATES DISTRICT JUDGE




                                               25
   Case 1:24-md-03119-MLG-LF             Document 170         Filed 04/21/25      Page 26 of 26




                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2025, I caused to be served a true and correct copy of the

foregoing document with the Clerk of this Court using the CM/ECF system, which will send a

notice of electronic filing to counsel of record receiving electronic notification.


                                                   /s/Christopher A. Dodd
                                                       Christopher A. Dodd




                                                 26
